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REVARD T. COLWIER fro Se

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Petitioner : CoseMb, Y:20-Ch-voen- HFS -|
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SENTENCE AUD) AMEDD JUDRE MENT

Case 4:23-cv-00333-HFS Document1 Filed 05/15/23 Page 1 of 6
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* Pro Se"

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Renard T Coller, Pee Se
keg, No. 2) 923 — 045

Fe) ~ Memphis

Pd. Box 34550
Memphv, TH 38 184

Signed: Lewauk Cb
Dated: Ze, May Gah 2028

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